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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION

VICTOR BROOKS,

     Plaintiff,                                   CASE NO.:


v.

ONEMAIN FINANCIAL GROUP, LLC, d/b/a
ONEMAIN FINANCIAL

     Dedendant.
                                      /

                   COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, Victor Brooks, by and through the undersigned counsel,

and sues Defendant, ONEMAIN FINANCIAL GROUP, LLC, and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (“TCPA”).

                                    INTRODUCTION

          1.      The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

          2.      “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the -

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the


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telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

intended to give telephone subscribers another option: telling the auto-dialers to simply

stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256(11th Cir. 2014).

        4.       “No one can deny the legitimacy of the state goal: Preventing the phone

(at home or in one’s pocket) from frequently ringing with unwanted calls. Every call uses

some of the phone owner’s time and mental energy. Both of which are precious. Most

members of the public want to limit calls, especially cellphone calls, to family and

acquaintances, and to get their political information (not to mention their advertisements)

[*6] in other ways.” Patriotic Veterans v. Zoeller, No. 16-2059, 2017 U.S. App LEXIS

47, at *5-6 (7th Cir. Jan 3, 2017).

        5.       According    to   the    Federal   Communications   Commission     (FCC),

“Unwanted calls and texts are the number one complaint to the FCC.              There are

thousands of complaints to the FCC every month on both telemarketing and robo-calls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robo-calls, Texts to

Wireless      Phones,   Federal       Communications   Commission,    (May    27,   2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                              JURISDICTION AND VENUE


         6.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.




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        7.     Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

       8.      The alleged violations described herein occurred in Fayette County,

Kentucky. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                              FACTUAL ALLEGATIONS

       9.      Plaintiff is a natural person, and citizen of the State of Kentucky, residing

in Fayette County, Kentucky.

       10.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

       11.     Defendant is a Foreign limited liability company with its principal place of

business located at 100 International Dr. 18th FL, Baltimore, MD 21202 and which

conducts business in the State of Kentucky through its registered agent, C T Corporation

System, located at 306W. Main Street, Suite 512, Frankfort, KY 40601.

       12.     Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing



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system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that his knew it was an

auto-dialer because of the vast number of calls he received and because he heard a pause

when he answered his phone before a voice came on the line Defendant.

       13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (859) ***- 0970, and was the called party and recipient of Defendant’s calls.

       14.     In or about October 2017, Plaintiff began receiving calls to his

aforementioned cellular telephone from Defendant seeking to recover an alleged debt

related to a personal loan.

       15.     On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s) to stop calling his cellular telephone.

       16.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls were being initiated from, but not limited to, the following phone number(s)

(859) 246-1453, (859) 987-3747, (859) 260-8830, (800) 431-3816 and (844) 739-0720,

and when those numbers are called, an automated message states “Thank you for calling

OneMain.”

       17.     Furthermore, some or all of the calls at issue were placed by the Defendant

using a “pre-recorded voice,” as specified by the TCPA, 47 U.S.C § 227(b)(1)(A).

       18.     None of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C § 227(b)(1)(A).



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       19.     Defendant attempted to collect a debt from the Plaintiff by this campaign

of telephone calls.

       20.     In or about November 2017, Plaintiff received a call from Defendant, met

with an extended pause, eventually was connected to a live representative, and informed

the agent/representative of Defendant that he was with his family, he was aware of his

obligation, and demanded that the Defendant cease calling his cellular telephone number.

       21.     During the aforementioned phone conversation in or about November

2017 with Defendant’s agent/representative, Plaintiff unequivocally revoked any express

consent Defendant may have had for placement of telephone calls to Plaintiff’s

aforementioned cellular telephone number by the use of an automatic telephone dialing

system or a pre-recorded or artificial voice.

       22.     Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was done so without the “express consent” of Plaintiff.

       23.     Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was knowing and willful.

       24.     Additionally on or about January 18, 2018, Plaintiff received a call from

Defendant, met with an extended pause, and eventually was connected to an

agent/representative of Defendant, he stated that he previously informed them to not call

his cellular telephone, and, again, demanded that Defendant cease placing calls to his

aforementioned cellular telephone number.




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         25.   Despite actual knowledge of their wrongdoing, Defendant continued the

campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent

Defendant may have had to call his aforementioned Cellular telephone number.

         26.   On at least two (2) spate occasions, Plaintiff has either answered a call

from Defendant or returned a call to Defendant regarding his account, held the line to be

connected to a live representative, and demanded that Defendant cease placing calls to his

aforementioned cellular telephone number. His principal reason fro answering these calls

and making these demands of Defendant was the cumulative injury and annoyance he

suffered from the calls placed by Defendant. These injuries are further described in

paragraphs thirty (30) through thirty-six (36) herein.

         27.   Each of the Plaintiff’s requests for the harassment to end was ignored.

         28.   From about November 2017, through the filing of this Complaint,

Defendant has placed approximately three-hundred (300) actionable calls to Plaintiff’s

aforementioned cellular telephone number. (Please see attach Exhibit “A” representing a

non-exclusive call log of twelve (12) calls from January 23, 2018 through January 25,

2018).

         29.   Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling multiple times during one day and on back to back days, with such

frequency as can be expected to harass.

         30.   From each and every call placed without “express consent” by Defendant

to Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and

the intrusion upon his right of seclusion.



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       31.     From each and every call without “express consent” placed by Defendant

to Plaintiff’s cellular telephone. Plaintiff suffered the injury of the occupation of his

cellular telephone line and cellular telephone by unwelcome calls, making the telephone

unavailable for legitimate callers or outgoing calls while the telephone was ringing from

Defendant’s calls.

       32.     From each and every call placed without the “express consent” by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary

expenditure of his time. Plaintiff had to waste time to deal with missed call notifications

and call logs that reflect the unwanted calls. This also impaired the usefulness of these

featured of Plaintiff’s cellular telephone which are designed to inform the user of

important missed communications.

       33.     Each and every call placed without the “express consent” by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to

Plaintiff. For the calls that were answered, Plaintiff had to go through the unnecessary

trouble of answering them. Even for unanswered calls, Plaintiff had to deal with missed

call notifications and call logs that reflected unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular telephone, which are designed to inform

the user of important missed communications.

       34.     Each and every call placed without the “express consent” by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone battery power.




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        35.    Each and every call placed without the “express consent” by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

namely his cellular telephone and his cellular telephone services.

        36.    As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affected in a personal and individualized way by stress,

anxiety, and aggravation.

        37.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

telephone in this case, with no way for the consumer, or Defendant to remove the

number.

        38.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

        39.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        40.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.

        41.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.




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        42.     Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant call list.

        43.     Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

                                         COUNT I

                                (Violation of the TCPA)

        44.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-three (43) as if fully set forth herein.

        45.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop

        46.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against ONEMAIN FINANCIAL GROUP, LLC for statutory

damages, punitive damages, actual damages, treble damages, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.




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                                Respectfully submitted,



                                       /s/ Shaughn C. Hill

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